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, . Prob 12A (9/06)


                             UNITED STATES DISTRICT COURT
                                                   for

                                     WESTERN DISTRICT OF TEXAS


                               Report on Offender Under Supervision

Name of Offender: Enrique Alfredo Tavares aka Mask
Case Number:          EP-14-CR-01236KC(2)
Name of Sentencing Judicial Officer:        Kathleen Cardone, U.S. District Judge
Date of Original Sentence:       June 8, 2017
Original Offense: Conspiracy to Possess with Intent to Distribute a Quantity of Heroin , 21 U.S.C. §
846 & § 841
Original Sentence: Sixty-three (63) months custody and three (3) years of supervised release
Type of Supervision: Supervised Release
Date Supervision Commenced: April 29, 2022



                                      PREVIOUS COURT ACTION

On January 29 , 2018 , the Court re-sentenced Tavares and amended the judgment to include a term of
imprisonment of fifty-five (55) months with credit for time served while in state custody pending transfer
to federal custody and three (3) years of supervised release.

On September 18, 2023 , Tavares' term of supervision was revoked due to failing to notify his probation
officer of law enforcement contact within 72 hours, submitting a drug test which rendered positive
results for amphetamines and cocaine , and failing to follow the rules and regulations of the Location
Monitoring Program. He was sentenced to time served (27 days) followed by three (3) years of
supervised release.

On February 29, 2024, Tavares' term of supervision was revoked due to failing to attend services at
Aliviane , using a controlled substance to wit: cocaine , and failing to follow the instructions of his
probation officer. He was sentenced to time served (44 days) followed by two (2) years of supervised
release.
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                                       NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number 1: The defendant must participate in a substance abuse treatment program and
follow the rules and regulations of that program. The program may include testing and examination
during and after program completion to determine if the defendant has reverted to the use of drugs.
The probation officer shall supervise the participation in the program (provider, location , modality ,
duration, intensity, etc.) During treatment, the defendant must abstain from the use of alcohol and any
and all intoxicants. The defendant must pay the costs of such treatment if financially able.

        Nature of Noncompliance: On March 21 , 2024, Tavares submitted a urine sample that
        yielded positive results for amphetamines. On March 28 , 2024 , this officer confronted
        Tavares regarding his positive urine sample results , and he denied using amphetamines.
        As such , this officer requested confirmation from the laboratory. Subsequently, on April
        9, 2024, the laboratory confirmed the results for amphetamines. The same day, this officer
        confronted Tavares regarding the laboratory confirmation results and Tavares still denied
        using amphetamines.


U.S. Probation Officer Action:

The probation officer admonished Tavares for the new violation and reminded him of the possible
consequences of such non-compliance. As such , it is respectfully recommended that this new violation
be held in abeyance and that no further action be taken at this time to allow Tavares the opportunity to
participate in an outpatient substance abuse treatment program to address his substance abuse issues.
Accordingly, any further violations will be communicated to the Court promptly.




Respectfully submitted ,                                       Approved by,


~
Leobardo Moreno
                                                               ~     C. 7 ' ~


                                                               David C. Trejo
U.S. Probation Officer                                         Supervising U.S. Probation Officer
Office (915) 585-5535                                          Office (915) 585-5576
Cellular (915) 202-5597                                        Cellular (915) 861-8369
Date : April 9, 2024
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COURT ACTION RECOMMENDED:

[X1     Concur with above action

        No action

        Submit a Petition for Warrant or Summons

        Submit a Request for Modifying the Conditions or Term of Supervision

        Other:




                                                                           .S. District Judge



                                                       April 10, 2024
                                                      Date
